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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

        In Re: TAXOTERE (DOCETAXEL)                                   MDL NO. 2740
               PRODUCTS LIABILITY
               LITIGATION

        THIS DOCUMENT RELATES TO:                                     SECTION “N” (5)
        ALL CASES

                        PROPOSED CASE MANAGEMENT ORDER NO. 9
                                   (Deposition Protocol)

I.     GENERAL PROVISIONS

       A.     Scope of Order

              This Order addresses depositions conducted of both fact and expert witnesses (“the

       witness”) in cases presently pending and hereafter included in this MDL as more fully

       described below. Except as otherwise provided in this Order, the Federal Rules of Civil

       Procedure and the Local Rules of this Court will apply in this proceeding including those

       regarding the conduct of depositions.

       B.     Applicability

              This order shall govern the conduct of depositions of all witnesses deposed in the

       above-captioned matter, including (1) cases directly filed in this Court pursuant to this

       Court’s Direct Filing Order of December 13, 2016, PTO No. 5 (Rec. Doc. 131); (2) cases

       transferred to this Court by the Judicial Panel on Multidistrict Litigation; (3) any tag-along

       action subsequently transferred to this Court by the Judicial Panel on Multidistrict

       Litigation; and (4) all related cases originally filed in this Court or transferred or removed

       to this Court.



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          Counsel are reminded that the Court considers depositions to be official court

  procedures, and the conduct of all participants in depositions shall be in accordance with

  the customs and practices expected of lawyers and witnesses appearing before this Court,

  as if each was appearing personally before the Court at the time of the deposition. Counsel

  shall not at any time conduct himself or herself in a manner not becoming an officer of the

  court and not in full compliance with the Louisiana Rules of Professional Conduct, the

  Louisiana Code of Professionalism and all other Orders of the Court. Neither counsel nor

  the witness shall, at any time, engage in conduct that obstructs, impedes, delays, or

  frustrates the examination of the witness. All counsel and the witness must be treated with

  civility and respect.

          Counsel will not abuse or indulge in offensive conduct directed to other counsel,

  parties or the witness. Counsel will abstain from disparaging personal remarks or acrimony

  toward other counsel, parties or the witness. Counsel will treat adverse witnesses and

  parties in a professional manner as officers of the Court.

          There shall be no smoking or use of other tobacco products in any room in which a

  deposition is being conducted, including before, during or after a deposition, or in the

  deposition room during any deposition recess.

  C.      Meet and Confer

          Counsel shall meet and confer in good faith regarding any disputes that may arise

  with respect to any matter concerning depositions in an effort to resolve the dispute by

  agreement before presenting them to Magistrate Judge Michael B. North.




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               Counsel shall attempt to schedule depositions by mutual agreement and agree to

        consult regarding scheduling matters in a good faith effort to avoid conflicts. Counsel will

        promptly notify other counsel when depositions are to be canceled and rescheduled.

II.     ATTENDANCE

        A.     Who May Be Present

               Unless otherwise ordered under Rule 26(c), depositions may be attended only by

        counsel of record, members of the PSC, members and employees of their firms, attorneys

        specifically engaged by a party for purposes of the deposition, the parties or the

        representative of a party (including in-house counsel), the witness, counsel for the witness,

        the parties’ expert witness(es), court reporters, and videographers. By agreement or upon

        application, and for good cause shown, the Court may permit attendance by a person who

        does not fall within any of the categories set forth in the preceding sentence.

               To minimize travel and related costs, counsel or others permitted to attend the

        deposition may participate/attend any deposition by telephone or videoconference.

        Counsel noticing the deposition should facilitate arrangements so that a conference call in

        line is available during the deposition. Any party wishing to attend by video conference

        shall be responsible for the cost of setting up the video conference capabilities. Notification

        of attendance by telephone or video conference shall be provided within five (5) days prior

        to the deposition by those counsel desiring to do so.

               Examining counsel and counsel intending to participate remotely shall cooperate in

        good faith to facilitate such participation. No deposition shall be delayed or impeded by

        technical issues related to counsel appearing remotely. All individuals attending remotely

        shall identify themselves for the record either verbally or by email to the court reporter and


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         counsel for the parties, and the court reporter shall record the name of all individuals

         listening or attending the deposition remotely for any length of time and include them as

         being in attendance in the official transcript.

         B.     Unnecessary Attendance

                Unnecessary attendance by counsel is discouraged and may not be compensated in

         any fee application to the Court.

         C.     Examination

                Leadership Counsel for the MDL Plaintiffs shall designate one (1) attorney to serve

         as the primary examiner of each witness on behalf of the MDL Plaintiffs. Defendants’

         Leadership or Liaison Counsel shall designate one primary examiner for each Defendant.

         Additional examiners on behalf of MDL parties shall not be permitted absent good cause

         and agreement of the parties. Once a witness has fully answered a question, the same or

         substantially the same question shall not be asked again. Counsel who have individual or

         divergent positions may examine a witness limited to matters not previously covered.

                While a witness is being examined about any document or information that has

         been designated or stamped as “Confidential” pursuant to a stipulated confidentiality

         agreement or Protective Order in this case, any persons to whom disclosure is not

         authorized under such Protective Order shall be excluded during such examination.

         D.     Objections

                Objections must be made by only one attorney for each party as designated on the

         record at the commencement of the deposition.


III.            SCHEDULING OF PARTIES’ WITNESSES



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  A.     Mutual Efforts

         Absent extraordinary circumstances, counsel shall consult with opposing counsel

  in advance of noticing any deposition in an effort to schedule depositions at mutually

  convenient times and locations. Counsel will aim to coordinate on deposition scheduling

  in advance of sending notices of depositions.

         Nothing herein shall preclude a party from serving a notice of deposition following

  a written request for deposition where dates are not provided by opposing counsel or

  counsel for the proposed deponent within fourteen (14) days of the written request for

  deposition under this Order and the requesting party has made a good faith attempt to meet

  and confer.

         Each deposition notice shall comply with Rule 30(b). The deposition notice shall

  include the name, address, and telephone number of an attorney contact designated by the

  party noticing the deposition, as well as the date, time, and location of the deposition. The

  notice shall clearly state whether the deposition will be videotaped in addition to being

  recorded by stenographic means.

         As a general rule, no individual witness under Rule 30(b)(1) should be deposed in

  the MDL proceeding more than once. However, to the extent responsive documents are

  produced or custodial documents are identified after the deposition of the witness, a

  supplemental deposition may be requested. Any subsequent deposition shall be limited to

  issues arising from supplemental productions or identification of custodial documents. A

  party seeking to take a second deposition of a witness shall provide the opposing party its

  basis for an exception. Second depositions shall be permitted only upon consent of the

  parties or an Order of this Court issued for good cause shown.


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  B.     Location

         The parties shall endeavor to schedule all depositions at locations within a

  reasonable distance from the residence of the witness, e.g., within 100 miles of the

  witness’s residence, or at such other location as is agreed to by all counsel involved and

  the witness. Defendants will make a good faith effort to communicate to former employees

  that a request for them to appear at a deposition has been made, and will make a good faith

  effort to produce former employees for depositions.

  C.     Notice of Intent to Attend

         In order to make arrangements for adequate deposition space, Counsel for each

  party shall confer regarding the expected attendance in advance of the deposition. Five (5)

  days prior to the deposition, the noticing party shall provide the number of attendees to

  counsel representing the deponent.

  D.     Duration of Depositions

  1.     A deposition noticed pursuant to Case Management Order No. 5, General

  Discovery Protocol – Sanofi Defendants, ¶ 5 (and the equivalent subsection of the General

  Discovery Protocol to be entered with the 505(b)(2) defendants) will for durational

  purposes be limited as follows:

         For purposes of 30(b)(6) depositions, each designee is subject to a presumptive

  seven (7) hour time limit of on the record testimony, separately, regardless of how many

  designees the entity appoints. The parties agree to meet and confer on the total deposition

  time permitted in the context of a given 30(b)(6) notice to the extent it requires more than

  one witness to cover topics that are sufficiently-related.

  2.     For purposes of a 30(d)(1) deposition, each deposition is subject to a presumptive

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  time limit of seven (7) hours of on the record testimony. However, if the deposition is

  cross-noticed then the deposition noticed under FRCP 30(d)(1) maybe scheduled for up to

  two seven (7) hour days with the Plaintiff MDL attorneys limited to seven (7) hours of

  testimony.

         The presumptive duration for any deposition may be extended or otherwise altered

  by agreement or by court order if requested. Additional time may be permitted for state

  court litigants if the deposition is cross-noticed in such state court action(s). However, if

  the deposition is cross-noticed, the Plaintiff MDL attorneys’ allotment of seven (7) hours

  of testimony shall not be affected. Absent exigent circumstances, no additional time shall

  be used by state court litigants to ask unduly duplicative or cumulative questions. Time

  spent by defending counsel for direct examination of the witness shall not count against

  the time allotted to questioning counsel. Where a witness is a non-party, and is not a current

  or former employee, agent, or consultant for a party or a subsidiary or affiliate of a party,

  the parties shall meet and confer to reach agreement on the division of the available time

  to depose the witness.

         To effectuate an orderly and efficient 30(b)(6) deposition process, 30(b)(6) notices

  may be crafted on an issue-by-issue basis and depositions may be conducted on multiple

  and separate days and times by agreement of the parties and subject to the availability of

  the witness. The parties may disagree on how the numerical limitations on depositions of

  defendants set forth in Case Management Nos. 5 (¶ 5) and 7 (¶ 5) apply to 30(b)(6)

  depositions. For example, the parties disagree on whether each 30(b)(6) notice shall count

  as one deposition. To resolve any such disagreements, the parties shall report at each




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  discovery status conference as to their position on how each 30(b)(6) notice is

  counted against the limits set forth in Case Management Nos. 5 (¶ 5) and 7 (¶ 5).

         All objections to a 30(b)(6) deposition topic or topics shall be provided within

  fourteen (14) days after the proposed topics are propounded in a notice. The parties shall

  meet and confer and endeavor to resolve such objections within seven (7) days of the

  objections being lodged.

  3.     Breaks shall be taken on an as needed basis. No breaks shall be taken while a

  question is pending, except to confer about an issue relating to privilege. The time limits

  agreed to by the parties shall be the actual time spent on the record examining the witness.

  Time spent on breaks or lunch shall not be counted toward the time limits.

  4.     In the event that a deposition involves a translator, the deposition shall be extended

  as reasonably necessary to conduct the examination up to double the amount of time

  permitted for the deposition, but absent good cause it shall not exceed an additional day of

  seven (7) hours of testimony, except by agreement of the parties, or by Court Order for

  good cause.

  E.     Multi Tracking

         Although the parties will try to avoid multi-tracking of depositions (the scheduling

  of more than one deposition on a single day), multi-tracking of depositions may be

  necessary considering the date of the trials and the status of discovery. The parties shall

  meet and confer on the establishment of a reasonable schedule for the multi-tracking of

  depositions. To the extent that the parties cannot agree on a proposed schedule for multi-

  tracking depositions, the parties shall prepare letter briefs to be presented to Magistrate




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        Judge Michael B. North attaching their separate proposed schedules. The Court will

        endeavor to promptly resolve the scheduling dispute.

        F.      Postponement

                Once a deposition has been mutually scheduled and noticed, it shall not be taken

        off the calendar, rescheduled, or relocated less than seven (7) calendar days in advance of

        the date it is scheduled to occur, except upon agreement between counsel (including

        counsel for the witness), or by leave of Court for good cause shown.

        G.      Interpreters/Translators

                1.      Where a witness indicates his or her intention to respond to questions in a

        language other than English, translators will be employed to interpret and translate between

        the foreign language and English. A translator selected by any party may also attend the

        deposition for the purpose of verifying the interpretation or translation provided by the

        other translator. Each translator shall swear under oath or affirm prior to each deposition

        to provide honest and truthful interpretations and translations. A monitor displaying “real

        time” transcription will be placed in front of the translator to assist in the interpretation.

        Defendants and Plaintiffs will each be responsible for all fees and costs incurred to secure

        the attendance and services of their respective translators.

                2.      Counsel for the witness shall notify the noticing party at least fourteen (14)

        days in advance of the deposition that the examination will require the involvement of a

        translator. In the event the noticing party receives such a notice from a third party or his/her

        counsel, the noticing party shall inform other involved counsel within 24 hours of receiving

        such notice.


IV.     NON-PARTY DEPOSITIONS

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   A.     Federal Rule Civil Procedure 30(b)(6)

          Non-party organizations may be required to provide 30(b)(6) testimony through the

   issuance of a subpoena for that organization to testify. The subpoena must meet the same

   requirements as a 30(b)(6) notice. If a non-party 30(b)(6) deposition is intended to include

   document production, a subpoena duces tecum is required to be served in conjunction with

   the subpoena to testify pursuant to Rule 30(b)(2). Rule 45 governs service of the subpoena

   to obtain testimony from non-party entities. The non-party can object by sending a letter

   to Magistrate Judge Michael B. North seeking resolution. A notice of objection is not

   sufficient to stay the deposition. If the non-party 30(b)(6) notice includes a subpoena duces

   tecum, the notice must allow a fourteen (14) day opportunity for the non-party entity to file

   written objections as required by Rule 45(d)(2)(B). Once the non-party files written

   objections, the non-party is not required to produce the documents that are the subject of

   the filed objection and after conferral, any remaining controversy over the document

   production will be determined by Magistrate Judge Michael B. North.

          Liaison Counsel shall receive documents produced by third parties. Any counsel

   who receives documents produced by a third party in response to a subpoena duces tecum

   will produce copies of those documents to all Liaison Counsel as soon as possible but no

   later than three (3) business days after receipt. All counsel who receive documents

   produced by a third party will use best efforts to produce these documents to all Liaison

   Counsel by ftp or similar electronic means to avoid the delays involved in sending

   documents by overnight mail. Counsel transmitting documents to all Liaison Counsel may

   include a bill for reasonable production and transmission costs to be paid by the receiving




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        Liaison Counsel, taking into account the form in which the production was received from

        the third-party.

        B.      Individual Depositions of Non-Party Witnesses

                An officer, director, or managing agent of a non-party corporation, a government

        official, or other non-party may be deposed with service of a notice of deposition and/or

        subpoena issued pursuant to the requirements of Rule 30 and 45. Rule 45 governs service

        of the subpoena to obtain testimony from non-parties. The non-party can object by filing

        a motion to Quash under Rule 45(d)(3) and a party can object by filing a Motion to Quash

        or for a Protective Order to preclude the discovery. A notice of objection, without a filed

        motion, is not sufficient to stay the deposition. A courtesy copy of this pre-trial order will

        be attached to the individual non-party service of a notice and/or subpoena.


V.      OBJECTIONS

        1.      Counsel shall comply with Rules 30(c), (d)(1) and (3). When a privilege is claimed,

        the witness shall nevertheless answer questions relevant to the existence, extent, or waiver

        of the privilege, such as the date of a communication, who made the statement, to whom

        and in whose presence the statement was made, other persons to whom the contents of the

        statement have been disclosed, and the general subject matter of the statement, unless such

        information is itself privileged.

        2.      Any objection made at a deposition shall be deemed to have been made on behalf

        of all other parties. The only objections that can be made are “objection as to form” and

        privilege. No other objections shall be made and all other objections are preserved.

        3.      Counsel shall refrain from engaging in colloquy during any deposition. The phrase

        “objection as to form” or similar language as contemplated by Rule 30(c)(2) shall be

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      sufficient to preserve all objections as to form until the deposition is sought to be used. If

      requested, the objecting party shall provide a sufficient explanation for the objection to

      allow the deposing party to rephrase the question. No speaking objections are allowed and

      professionalism is to be maintained by all counsel at all times.

      4.     Counsel shall not make objections or statements that might suggest an answer to a

      witness.

      5.     Private consultations between the witness and his or her attorneys during the actual

      taking of the deposition are improper and prohibited, except for the purpose of determining

      (a) whether a privilege exists, (b) whether disclosure of information may violate an Order

      of the MDL Court or another court, or (c) an issue regarding confidentiality or whether the

      information sought is subject to an applicable protective order. Unless prohibited by the

      Court for good cause shown, conferences may be held during normal recesses,

      adjournments, or if there is a break in the normal course of interrogation and no questions

      are pending.

VI.   DISPUTES DURING DEPOSITIONS

             Disputes between or among the parties must be addressed to the assigned

      Magistrate Judge, should the parties be unable to resolve the dispute. Disputes arising

      during depositions that cannot be resolved by agreement and that, if not immediately

      resolved, will significantly disrupt the discovery schedule or require rescheduling of the

      deposition, or might result in the need to conduct a supplemental deposition, shall be

      presented to Magistrate Judge North by telephone at (504-589-7610). If Magistrate Judge

      North is unavailable, the deposition shall continue with full reservation of rights of the

      examiner for a ruling at the earliest possible time. Nothing in this Order shall deny counsel


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       the right to suspend a deposition pursuant to Rule 30(d)(3), file an appropriate letter with

       Magistrate Judge North, and appear personally before the Court.


VII.   COORDINATION OF STATE COURT ACTIONS

              Any deposition in this MDL proceeding may be cross-noticed in any related state

       court action, which may require reasonable coordination between the MDL parties and

       parties in related state court litigation. In coordinating such efforts, the MDL parties shall

       seek to (1) limit witnesses to a single deposition within the limits set forth in this Order;

       and (2) streamline examination of the witness to avoid duplicative or cumulative

       questioning. Plaintiffs’ and Defendants’ Liaison Counsel shall make best efforts to ensure

       that deposition notices of current and/or former employees of Defendants, as well as

       30(b)(6) witnesses, are transmitted to plaintiffs’ counsel in all related state court actions

       identified by Defendants pursuant to Pretrial Order No. 8 (Rec. Doc. 156). To the extent

       practicable, the parties shall endeavor to allow for full participation by all jurisdictions in

       each deposition consistent with paragraph III.D.2, supra, and to the extent such

       participation is not duplicative or cumulative of prior questioning of the witness.

              If a deposition originally noticed in this MDL proceeding has been cross-noticed in

       a state court action, then a party in this MDL may not take a subsequent deposition of that

       witness over objection of the opposing party or the witness except for good cause shown.

       Any disputes among the parties in this MDL regarding subsequent depositions shall be

       resolved, and good cause determined by the MDL Court, including Magistrate Judge North.

       Any subsequent deposition may be restricted by stipulation of the parties or as permitted

       by the Court.




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             The MDL parties shall encourage the entry of substantively similar deposition

      protocols in any related state proceedings.


VIII. DOCUMENTS USED IN CONNECTION WITH DEPOSITIONS

      A.     Use of Exhibits

             All documents produced and used as deposition exhibits should be identified by

             referring to the unique alpha-numeric identifiers (i.e., Bates stamped numbers)

             appearing on the documents. In the case of documents which have not yet received

             production numbering at the time of the deposition, the parties shall agree on a

             numbering method. Documents that are produced in native format shall have the

             slip sheet with the Bates number affixed to the front of the document. The court

             reporter for each deposition will include in each deposition transcript a list of the

             exhibits referenced in the deposition. All documents used at depositions must be

             marked in accordance with the Protective Order and this Order.

      B.     Copies

             Extra copies of documents about which deposing counsel expects to examine a

      witness must be provided to primary counsel for the parties and the witness during the

      course of the deposition.

      C.     Translation of Documents

             Objections as to the accuracy of translations shall be reserved unless a stipulation

      is reached by the parties in advance of the deposition. There shall be no electronic

      translation done for documents in a foreign language used in any manner in this case.



IX.   MEANS OF RECORDING

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   A.     Stenographic Recording

          A certified court reporter shall stenographically record all deposition proceedings

   and testimony with “real time feed” capabilities. The court reporter shall administer the

   oath or affirmation to the witness. A written transcript by the court reporter shall constitute

   the official record of the deposition for purposes of Rule 30(e) addressing filing, retention,

   certification and the like. To the extent any counsel requires real-time video and/or text

   feed, that counsel is responsible for setting up and paying for the cost of that additional

   feature.

   B.     Video Depositions

          By so indicating in its notice of a deposition, a party, at its expense, may record a

   deposition by videotape or digitally-recorded video pursuant to Rule 30(b)(3) subject to

   the following rules:

          1.      Video Operator. The operator(s) of the video recording equipment shall be

          subject to all applicable provisions of Rule 28. At the commencement of the

          deposition, the operator(s) shall swear or affirm to record the proceedings fairly and

          accurately.

          2.      Position of the Witness. Unless physically incapacitated, the witness shall

          be seated at a table, except when reviewing or presenting demonstrative materials

          for which a change in position is needed. To the extent practicable, the deposition

          will be conducted in a neutral setting, against a solid background, with only such

          lighting as is required for accurate video recording. Lighting, camera angle, lens

          setting, and field of view will be changed only as necessary to record accurately the

          natural body movements of the witness. Only the witness and any exhibits or


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          demonstrative aids used in the examination will be video recorded. Sound levels

          will be altered only as necessary to record satisfactorily the voices of counsel and

          the witness.

          3.      Filing. After the deposition is completed, the video operator shall certify

          on camera the correctness, completeness, and accuracy of the videotape recording

          in the same manner as a stenographic court reporter, and forward a true copy of the

          videotape, the transcript, and certificate with Plaintiffs’ and Defendants’ Liaison

          Counsel at a reasonable cost to each party.

          4.      Technical Data.    Technical data such as recording speeds and other

          information needed to replay or copy the tape shall be included on copies of the

          videotaped deposition.

   C.     Telephone Depositions

          By indicating in its notice of deposition that a party wishes to conduct the

   deposition by telephone, a party shall be deemed to have moved for such an order under

   Rule 30(b)(4). Unless an objection is filed and served within seven (7) calendar days after

   such notice is received, the objection is waived. Other parties may examine the witness

   telephonically or in person in accord with this Order and any Order of the Court. However,

   all persons present with the witness shall be identified in the deposition and shall not by

   word, sign, or otherwise coach or suggest answers to the witness. The court reporter shall

   be in the same room with the witness.




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X.      CORRECTING AND SIGNING DEPOSITIONS

               Unless waived by the witness, the transcript of a deposition shall be submitted to

        the witness for correction and signature, and shall be corrected and signed within thirty

        (30) days after receiving the final transcript of the completed deposition. The time allowed

        for correcting and signing the transcript shall be extended to forty-five (45) days for those

        witnesses who responded in a language other than English. If no corrections are made

        during this time, the transcript will be presumed accurate.




         New Orleans, Louisiana, this 14th          November 2017.
                                      ____ day of _____________,




                                               _____________________________
                                               Michael B. North
                                               United States Magistrate Judge




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